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    BY HAND

    Hon. Laura Taylor Swain
                                                      .....   ---
    United States District Judge for
      the Southern District of New York
    Daniel Patrick Moynihan U.S. Courthouse
    500 Pearl Street, Courtroom l 7C
                                                                              MEMO ENDORSED
    New York, New York 10007-1312

    Re:    Marcos Lopez de Prado v. Guggenheim Partners, LLP, et al.,
           Civil Action No. 18-CV-00058-LTS

    Dear Judge Swain:

            This letter is being submitted jointly by counsel for plaintiff and the Guggenheim
    defendants in support of their mutual request that the Court maintain the complaint in the above
    captioned matter under seal in light of the settlement reached by the parties and until such time
    that the sealed complaint is to be removed by counsel for plaintiff or disposed of by the clerk
    pursuant to Standing Order M-10-468 (D.J. Mukasey, 2001), enclosed herein as Exhibit 1.

            On December 15, 2017, counsel for plaintiff submitted a letter to the Court requesting that
    plaintiff be allowed to file his complaint under seal, which the Court granted that day. Thereafter,
    on January 3, 2017, counsel for plaintiff filed the aforementioned complaint under seal. On January
    8, 201 7, the parties submitted a joint letter to the Court requesting that the Court maintain the
    aforem.entioned complaint under seal as the parties continue discussing settlement. Since that time, \                      -S-
    the parties have reached a confidential settlement agreement, executed on Monday, January~
    2018. As a result of the confidential settlement, counsel for plaintiff filed a Notice of Voluntary
    Dismissal pursuant to Federal Rule of Civil Procedure 41(a)(l)(A) yesterday, Tuesday, January
    16, 2018, enclosed herein as Exhibit 2.

            Continued sealing in this matter is appropriate. Here, the parties have reached an amicable
    settlement before there has been any litigation or court proceedings. There has been no answer
    filed, no appearance by any counsel for any defendant, no briefing, no discovery and no hearings.
    In such cases, courts have remarked that "[t]he complaint ... played only a negligible role in the
    [Court's] performance of Article III duties" and the Court "never adjudicated any aspect of the
    claims on the merits; its only action ... was to enter a stipulated dismissal based on a settlement"
    IDT Corp. v. eBay, 709 F.3d 1220, 1224 (8th Cir. 2013) (internal quotation and brackets omitted)
    and therefore continued sealing is appropriate. Additionally, the complaint contains sensitive and
    confidential business information, disclosure of which would be harmful to the parties. Lugosch

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v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006) (quoting U.S. v. Amodeo, 71 F Jd
1044, 1050 (2d Cir. 1995)). Because the complaint does not reflect the exercise of Article III
judicial power (and only asserts, as the parties now agree, unconfirmed allegations) the complaint
should remain under seal.

        For all these reasons, the parties respectfully request that the complaint be kept under seal
until such time that the sealed complaint is to be removed by counsel for plaintiff or disposed of
by the clerk pursuant to Standing Order M-10A68 (D.J. Mukasey, 2001).




       Respectfully submitted,




       Michael P. Roche
                                                           ~~ Yoav M. Griver
       Attorney for Guggenheim defendants                     Attorney for plaintiff Lopez de Prado

        Enclosures


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                                                             HON:\JRATAYCOR SWAIN
                                                             UNITED STATES DISTRICT JUDGE
